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Case 4:20-mj-00082-BJ Document 1 Filed 02/10/20 padded Oia B aaa TEXAS
FILED
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXASEB 1 9 2020

FORT WORTH DIVISION
CLERK U.S. DISTRICT COURT

UNITED STATES OF AMERICA By:
Deputy
V. No. Y:20- NM TJ- O8Ld

HANNAH NICOLE EDWARDS (01)

 

CRIMINAL COMPLAINT

I, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

On or about February 7, 2020, the defendant, Hannah Nicole Edwards, in the
Northern District of Texas, did knowingly use a minor under the age of eighteen to
engage in sexually explicit conduct for the purpose of producing a visual depiction of
such conduct, and such visual depiction was produced using materials that had been
mailed, shipped and transported in and affecting interstate and foreign commerce by any
means. Specifically, Edwards used an Apple iPhone to produce the following depiction
of a minor engaged in sexually explicit conduct:

 

File name Description of file

[redacted]cb23 1 This image depicts a prepubescent toddler’s penis.
The toddler, MV1, is not wearing any clothes and
the focus of the image is on the genitals in a lewd
and lascivious manner.

 

 

 

 

 

In violation of 18 U.S.C. § 2251 (a).

I, Christopher Thompson, being duly sworn under oath, do hereby depose and
state:
1. I am currently a Special Agent of the Federal Bureau of Investigation (FBI) since

April 2004, and I am currently assigned to the Dallas Division.

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2. I am currently assigned to a Crimes Against Children Task Force, wherein my
duties and responsibilities include investigating criminal violations relating to the sexual
exploitation of children (SEOC). I have investigated SEOC violations since 2004 and
have gained expertise in these types of investigations through training in seminars,
classes, and my everyday work. In addition, I have received specialized training in the
investigation and enforcement of federal child pornography laws in which computers are
used as the means for producing, transmitting, collecting and storing child pornography.
3. This affidavit sets forth facts and suggest reasonable inferences from those facts,
establishing that there is probable cause to believe that on or about February 7, 2020, in
the Northern District of Texas, Hannah Nicole Edwards committed the offense of
Sexual Exploitation of Children, in violation of 18 U.S.C. § 2251.
4, The information contained in this affidavit is from my personal knowledge of the
described investigation and from information obtained from other law enforcement
agents.

OVERVIEW OF INVESTIGATION
5. On or about February 6, 2020, a law enforcement officer acting in an undercover
capacity (UCO) was utilizing the Kik Messenger application in a group identified here
only as “Group A,””! when a Kik user utilizing the screen name “Jessa H” private

messaged the UCO.

 

' Your Affiant is aware of the group’s name; however, because of other active ongoing investigations, will refer to
this group as “Group A” in this affidavit.

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During her conversation with the UCO, “Jessa H” described graphic sexual abuse she
said she committed against two children and shared a file of child pornography, file name
[redacted]cb231. This image depicts a prepubescent toddler’s penis. The toddler,
subsequently identified as Minor Victim One (MV1), is not wearing any clothes, and the
focus of the image is on the genitals in a lewd and lascivious manner.

6. Through the investigation, your Affiant determined that Jessa H had used an IP
address, 76.204.124.159 which resolved to a U-Verse account at a residence located on
[redacted] Clairborne Drive, Fort Worth, Texas. Through further investigation, your
Affiant also determined that “Jessa H” is Hannah Nicole Edwards and that she had
recently moved to the residence located at [redacted] Clairborne Drive in Fort Worth.

7. On February 9, 2020, a federal search warrant for Edward’s residence was
obtained, and on the same day a search was conducted by FBI agents. Multiple items of
evidence were seized during the warrant, including an Apple iPhone model A1634 with
the words “Assembled in China” printed on the back. There is, therefore, probable cause
to believe that the Apple iPhone itself traveled in interstate and foreign commerce.

8. Edwards was present at the residence at the time of the search warrant. After
providing Edwards with her Miranda warnings, Edwards agreed to be interviewed.
Edwards stated she is the user of the Apple iPhone model A1634 and acknowledged that
she is the user of the Kik Messenger account “Jessa H.” Edwards also said that she used
this account to communicate with other Kik users about the sexual assault of children and
to receive and distribute child pornography.

She further admitted to taking the photograph [redacted]cb231, described above, and

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sending it to multiple users on Kik Messenger. Edwards identified the child, MV1, in
the [redacted]cb231 file, a one-year-old male, and said the photo was taken at her
home in Fort Worth, Texas, with her Apple iPhone.
9. Edwards also identified another image on her cell phone that she produced. The
image file depicts her pulling down the diaper of MV1 and taking a picture focused on
the boy’s genitals. Edwards said she took this photo in the residence at [redacted]
Clairborne Drive, Fort Worth, Texas, with her Apple iPhone.

CONCLUSION
10. Based on the facts and circumstances set forth in this affidavit, I respectfully
submit that there is probable cause to believe that Hannah Nicole Edwards did
knowingly use a minor under the age of eighteen to engage in sexually explicit conduct
for the purpose of producing a visual depiction of such conduct, and such visual depiction
was produced using materials that had been mailed, shipped or transported in and

affecting interstate or foreign commerce by any means, in violation of 18 U.S.C. §

Age ea

Chrisfopher Thompson, Special Agent
Federal Bureau of Investigation

2251(a).

 

Sworn to before me and subscribed in my pre i lo~ day of February

 
   
    

-CURETON
ates Magistrate Judge

   

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